       Case 1:24-cv-04777-AKH          Document 9       Filed 06/25/24      Page 1 of 41



                         UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK



UMG RECORDINGS, INC., CAPITOL                     Case No.: 1:24-cv-04777
RECORDS, LLC, SONY MUSIC
                                                     COMPLAINT
ENTERTAINMENT, ARISTA MUSIC,
ARISTA RECORDS LLC, ATLANTIC
RECORDING CORPORATION, RHINO                         DEMAND FOR JURY TRIAL
ENTERTAINMENT COMPANY, WARNER
MUSIC INC., WARNER MUSIC
INTERNATIONAL SERVICES LIMITED,
WARNER RECORDS INC., WARNER
RECORDS LLC, and WARNER
RECORDS/SIRE VENTURES LLC,

               Plaintiffs,

       v.

UNCHARTED LABS, INC., d/b/a Udio.com,
and JOHN DOES 1-10,

               Defendant.



       Plaintiffs UMG Recordings, Inc. (“UMG”) and Capitol Records, LLC (“Capitol,” and

collectively with UMG, “Universal”); Sony Music Entertainment (“SME”), Arista Music, and

Arista Records LLC (“Arista Records,” and collectively with Arista Music and SME, “Sony”);

Atlantic Recording Corporation (“Atlantic”), Rhino Entertainment Company (“Rhino”), Warner

Music Inc. (“WMI”), Warner Music International Services Limited (“WMISL”), Warner Records

Inc., Warner Records LLC, and Warner Records/SIRE Ventures LLC (“WR/SIRE,” and

collectively with Atlantic, Rhino, WMI, WMISL, Warner Records Inc., and Warner Records LLC,

“Warner,” and together with Universal and Sony, “Plaintiffs”), by and through their undersigned

counsel, file this Complaint against Uncharted Labs, Inc. (“Udio”) and allege as follows:

                                NATURE OF THE ACTION

       1.      From the invention of the phonograph record, through the eras of vinyl, cassette
       Case 1:24-cv-04777-AKH           Document 9       Filed 06/25/24      Page 2 of 41




tapes, CDs, and now streaming and social media, the recorded music industry has been at the

forefront of technological advancement. Artificial intelligence (“AI”) and machine learning are

the next frontier of technological development, poised to push boundaries and expand commercial

opportunity. But with AI’s enormous capabilities comes an equally enormous potential for abuse,

making it critical that AI technology be implemented responsibly, ethically, and legally.

       2.      Most fundamentally, AI companies, like all other enterprises, must abide by the

laws that protect human creativity and ingenuity. There is nothing that exempts AI technology

from copyright law or that excuses AI companies from playing by the rules. This lawsuit seeks to

enforce these basic principles.

       3.      Perhaps more so than with many other technologies, there is both promise and peril

with AI. As more powerful and sophisticated AI tools emerge, the ability for AI to weave itself

into the processes of music creation, production, and distribution grows. If developed with the

permission and participation of copyright owners, generative AI tools will be able to assist humans

in creating and producing new and innovative music. But if developed irresponsibly, without

regard for fundamental copyright protections, those same tools threaten enduring and irreparable

harm to recording artists, record labels, and the music industry, inevitably reducing the quality of

new music available to consumers and diminishing our shared culture.

       4.      This case concerns a generative AI service, which allows users to generate digital

music files that sound like genuine human sound recordings in response to basic inputs. The
capacity for a generative AI service to produce convincing imitations of genuine sound recordings

starts with copying a vast range of sound recordings. When those who develop such a service steal

copyrighted sound recordings, the service’s synthetic musical outputs could saturate the market

with machine-generated content that will directly compete with, cheapen, and ultimately drown

out the genuine sound recordings on which the service is built.

       5.      Foundational principles of copyright law dictate that copying protected sound

recordings for the purpose of developing an AI product requires permission from rightsholders.

Otherwise, such AI offerings will erode the value of the artistic works that comprise the essential


                                                -2-
        Case 1:24-cv-04777-AKH          Document 9       Filed 06/25/24      Page 3 of 41




raw materials that allow them to function in the first place. If left unmoored from existing and

longstanding legal constraints, such products could supplant, rather than support, genuine human

creativity.

        6.     Plaintiffs are record companies or recorded music businesses that, together, own or

exclusively control copyrights in a great majority of the most commercially valuable sound

recordings in the world. They have developed their enviable catalogs by discovering, developing,

and promoting human recording artists, whose artistic contributions are the bedrock of the

recorded music industry and the music we listen to today. These artists range from promising

newcomers to the most famous musicians and performers in the world to myriad other artists who

may not fill stadiums but who nevertheless shape culture. Plaintiffs have a track record of

embracing innovation and have entered into voluntary free-market licensing deals that authorize

the use of their protected sound recordings in emerging technologies. Such deals include full-

catalog licenses with streaming music services and user-generated content platforms, and other

licenses with innovative businesses associated with social media, fitness, gaming, the metaverse,

and more.

        7.     Defendant Uncharted Labs, Inc. is the company behind Udio, a generative AI

service that creates digital music files within seconds of receiving a user’s prompts. Building and

operating a service like Udio’s requires at the outset copying and ingesting massive amounts of

data to “train” a software “model” to generate outputs. For Udio specifically, this process involved
copying decades worth of the world’s most popular sound recordings and then ingesting those

copies into Udio’s AI model so it can generate outputs that imitate the qualities of genuine human

sound recordings. Udio charges many of its users monthly fees to use its product and produce

digital music files, which are designed to entertain, evoke emotion, and stoke passion just like the

genuine sound recordings Udio copied.

        8.     Given that the foundation of its business has been to exploit copyrighted sound

recordings without permission, Udio has been deliberately evasive about what exactly it has

copied. This is unsurprising. After all, to answer that question honestly would be to admit willful


                                                -3-
        Case 1:24-cv-04777-AKH             Document 9      Filed 06/25/24       Page 4 of 41




copyright infringement on an almost unimaginable scale. Udio’s executives instead speak publicly

in exceedingly general terms. For example, they have said Udio’s service is trained on “a large

amount of publicly-available and high-quality music” that is “obtained from the internet” and the

“best quality music that’s out there.” 1

        9.      Of course, it is obvious what Udio’s service is trained on. Udio copied Plaintiffs’

copyrighted sound recordings en masse and ingested them into its AI model. Udio’s product can

only work the way it does by copying vast quantities of sound recordings from artists across every

genre, style, and era. The copyrights in many of those sound recordings—the recordings Udio’s

executives have described as the “best quality music” that can be obtained—are owned or

exclusively controlled by Plaintiffs. In other words, if Udio had taken efforts to avoid copying

Plaintiffs’ sound recordings and ingesting them into its AI model, Udio’s service would not be

able to reproduce the convincing imitations of such a vast range of human musical expression at

the quality that Udio touts. Udio’s service trains on the expressive features of these copyrighted

sound recordings for the ultimate purpose of poaching the listeners, fans, and potential licensees

of the sound recordings it copied.

        10.     If there were any doubt regarding Udio’s unauthorized copying, Udio dispelled it

by effectively conceding in pre-litigation correspondence that it copied Plaintiffs’ copyrighted

sound recordings. When Plaintiffs directly accused Udio of copying Plaintiffs’ sound recordings

to train its model, Udio did not deny or proffer any facts to undermine those allegations. It would

have been simple for Udio to say that it used other, legally acquired recordings, if that were the

case. Instead, Udio deflected and disingenuously asserted that its training data is “competitively

sensitive” and constitutes “trade secrets”—despite being based on “publicly available” music “out

there” for music fans. Udio also claimed that its large-scale copying of sound recordings is “fair

use,” which was telling because fair use only arises as a defense to an otherwise unauthorized use

of a copyrighted work.

1
 Sharon Goldman, AI Music May Be Having a Moment, But Human Songwriters Would Like a Word, Fortune (May
17, 2024), https://fortune.com/2024/05/17/ai-music-training-scraped/.


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       Case 1:24-cv-04777-AKH           Document 9       Filed 06/25/24     Page 5 of 41




       11.     Plaintiffs could have proceeded with this action based solely on eliciting that

reasonable inference of copying. Nevertheless, Plaintiffs’ claims are based on much more. In

particular, Plaintiffs tested Udio’s product and generated outputs using a series of prompts that

pinpoint a particular sound recording by referencing specific subject matter, genre, artist,

instruments, vocal style, and the like. Udio’s service repeatedly generated outputs that closely

matched the targeted copyrighted sound recording, which means that Udio copied those

copyrighted sound recordings to include in its training data. In addition, the public has observed

(and Plaintiffs have confirmed) that even less targeted prompts can cause Udio’s product to

generate outputs that resemble specific recording artists and specific copyrighted sound

recordings. Such outputs are clear evidence that Udio trained its model on Plaintiffs’ copyrighted

sound recordings.

       12.     Udio is not exempt from the copyright laws that protect human authorship. Like

any other market participant, Udio cannot reproduce copyrighted works for a commercial purpose

without permission. Heedless of this basic principle, Udio’s unauthorized copying erodes the

value and integrity of Plaintiffs’ copyrighted sound recordings with rapid and devastating impact.

Udio’s service generates music with such speed and scale that it risks overrunning the market with

AI-generated music and generally devaluing and substituting for human-created work. Despite

only having launched approximately two months ago, Udio’s product already makes a reported 10

music files per second, which amounts to 864,000 files per day, or just over 6,000,000 files per
week. These digital music files have been released to the public—some already finding their way

onto the major streaming services—and compete with the copyrighted sound recordings that

enabled their creation; yet Udio sought no permission from and gives no credit or compensation

to the human artists or other rightsholders whose works fueled their creation.

       13.     Udio also profits substantially from its infringement of Plaintiffs’ copyrighted

sound recordings. Udio has raised millions of dollars in funding, touts a roster of high-profile

backers, and has monetized its service, charging users up to $30 per month for its highest

subscription tier. None of that would be possible without the vast troves of copyrighted sound


                                               -5-
       Case 1:24-cv-04777-AKH            Document 9       Filed 06/25/24      Page 6 of 41




recordings that Udio copied to train its AI model.

       14.     Udio cannot avoid liability for its willful copyright infringement by claiming fair

use. The doctrine of fair use promotes human expression by permitting the unlicensed use of

copyrighted works in certain, limited circumstances, but Udio offers imitative machine-generated

music—not human creativity or expression. Moreover, the Copyright Act enumerates four factors

to assess whether an unauthorized use is fair, none of which favors Udio’s product. These factors

are: (1) the purpose and character of the use; (2) the nature of the copyrighted work; (3) the amount

and substantiality of the portion used in relation to the copyrighted work as a whole; and (4) the

effect of the use upon the potential market for or value of the copyrighted work. In these

circumstances, the purpose of Udio’s use of Plaintiffs’ copyrighted sound recordings is

quintessentially commercial and creates directly competitive digital music files that serve the same

purpose as the recorded music Plaintiffs create and substitute for genuine recordings by humans;

Udio copies the key expressive features of Plaintiffs’ copyrighted sound recordings; those

copyrighted sound recordings are at the core of copyright protection; and Udio’s infringement

undermines both existing and potential commercial markets for selling, licensing, and distributing

sound recordings. If left unchecked, Udio risks upending whole segments of the legitimate music

industry.

       15.     At its core, this case is about ensuring that copyright continues to incentivize human

invention and imagination, as it has for centuries. Achieving this end does not require stunting
technological innovation, but it does require that Udio adhere to copyright law and respect the

creators whose works allow it to function in the first place.

       16.     Plaintiffs bring this action seeking an injunction and damages commensurate with

the scope of Udio’s massive and ongoing infringement.

                                        THE PARTIES

       17.     Plaintiffs comprise the world’s foremost record companies and recorded music

businesses, engaged in the business of producing, manufacturing, distributing, selling, licensing,

and otherwise commercializing sound recordings in the United States and the world through


                                                 -6-
         Case 1:24-cv-04777-AKH          Document 9        Filed 06/25/24      Page 7 of 41




various media. Plaintiffs have made substantial investments in the development and promotion of

some of the most prolific and well-known recording artists in the world. Plaintiffs’ investments

extend further to lesser-known artists as well, with an eye toward sustaining the music industry

and discovering and supporting new generations of recording artists across all genres and styles.

Pursuant to their relationships with artists, Plaintiffs own or exercise exclusive control over rights

in millions of sound recordings of enormous cultural significance, artistic merit, and economic

value.

         18.   Plaintiff UMG Recordings, Inc. is a Delaware corporation with its principal place

of business at 2220 Colorado Avenue, Santa Monica, California 90404. UMG owns or exercises

exclusive control over the copyrights for the sound recordings within its catalog.

         19.   Plaintiff Capitol Records, LLC is a Delaware limited liability company with its

principal place of business at 2220 Colorado Avenue, Santa Monica, California 90404. Capitol

owns or exercises exclusive control over the copyrights for the sound recordings within its catalog.

A non-exhaustive list of specific sound recordings owned or exclusively controlled by Universal

that Udio has infringed is attached as Exhibit A (the “Universal Works”).

         20.   Plaintiff Sony Music Entertainment is a Delaware general partnership, the partners

of which are citizens of New York and Delaware. SME’s headquarters and principal place of

business are located at 25 Madison Avenue, New York, New York 10010. SME owns or exercises

exclusive control over the copyrights for the sound recordings within its catalog.
         21.   Plaintiff Arista Music is a New York partnership with its principal place of business

at 25 Madison Avenue, New York, New York 10010. Arista Music is a subsidiary of SME. Arista

Music owns or exercises exclusive control over the copyrights for the sound recordings within its

catalog.

         22.   Plaintiff Arista Records LLC is a Delaware Limited Liability Company with its

principal place of business at 25 Madison Avenue, New York, New York 10010. Arista Records

is a subsidiary of SME. Arista Records owns or exercises exclusive control over the copyrights

for the sound recordings within its catalog. A non-exhaustive list of specific sound recordings


                                                 -7-
       Case 1:24-cv-04777-AKH           Document 9       Filed 06/25/24      Page 8 of 41




owned or exclusively controlled by Sony that Udio has infringed is attached as Exhibit A (the

“Sony Works”).

       23.     Plaintiff Atlantic Recording Corporation is a Delaware corporation with its

principal place of business at 1633 Broadway, New York, New York 10019. Atlantic owns or

exercises exclusive control over the copyrights for the sound recordings within its catalog.

       24.     Plaintiff Rhino Entertainment Company is a Delaware corporation with its principal

place of business at 777 S. Santa Fe Avenue, Los Angeles, California 90021. Rhino owns or

exercises exclusive control over the copyrights for the sound recordings within its catalog.

       25.     Plaintiff Warner Music Inc. is a Delaware corporation with its principal place of

business at 1633 Broadway, New York, New York 10019. WMI owns or exercises exclusive

control over the copyrights for the sound recordings within its catalog.

       26.     Plaintiff Warner Music International Services Limited is a limited liability

company organized and existing under the laws of England and Wales with its principal place of

business at 27 Wrights Lane, London, England. WMISL owns or exercises exclusive control over

the copyrights for the sound recordings within its catalog.

       27.     Plaintiff Warner Records Inc. is a Delaware corporation with its principal place of

business at 777 S. Santa Fe Avenue, Los Angeles, California 90021. Warner Records Inc. owns

or exercises exclusive control over the copyrights for the sound recordings within its catalog.

       28.     Plaintiff Warner Records LLC is a Delaware corporation with its principal place of
business at 777 S. Santa Fe Avenue, Los Angeles, California 90021. Warner Records LLC owns

or exercises exclusive control over the copyrights for the sound recordings within its catalog.

       29.     Plaintiff Warner Records/SIRE Ventures LLC is a Delaware limited liability

company with its principal place of business at 1633 Broadway, New York, New York 10019.

WR/SIRE owns or exercises exclusive control over the copyrights for the sound recordings within

its catalog. A non-exhaustive list of specific sound recordings owned or exclusively controlled by

Warner that Udio has infringed is attached as Exhibit A (the “Warner Works”).

       30.     A non-exhaustive, illustrative sampling of Plaintiffs’ federally copyrighted sound


                                                -8-
        Case 1:24-cv-04777-AKH             Document 9    Filed 06/25/24      Page 9 of 41




recordings that Udio has illegally reproduced is attached hereto as Exhibit A. Plaintiffs currently

commercially exploit, and at all relevant times have commercially exploited, all the sound

recordings listed in Exhibit A. Plaintiffs intend to amend the Complaint at an appropriate time to

provide an expanded list of works that Udio has infringed.

        31.     Defendant Uncharted Labs, Inc. d/b/a Udio is a Delaware corporation with its

principal place of business at 750 Lexington Avenue, Floor 9, New York, New York 10022.

        32.     Defendants John Does 1-10 are unknown parties who directly copied Plaintiffs’

federally copyrighted sound recordings, worked with Udio to copy Plaintiffs’ federally

copyrighted sound recordings, or have knowledge of Udio’s direct infringement of Plaintiffs’

federally copyrighted sound recordings and intentionally induced and materially contributed to the

infringement by assisting Udio’s compiling, scraping, and/or copying of the copyrighted sound

recordings for Udio’s training data, intentionally promoted or encouraged Udios’s infringing

conduct by providing necessary tools and resources, and/or supervised and financially benefited

from Udio’s infringement.

                               JURISDICTION AND VENUE

        33.     This is a civil action seeking damages and injunctive relief for infringement under

the Copyright Act, 17 U.S.C. §§ 101, et seq., and the Music Modernization Act, 17 U.S.C. § 1401.

As such, this Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§ 1331

and 1338(a), based on federal question jurisdiction.

        34.     This Court has personal jurisdiction over Defendant Udio because its principal

place of business, listed as 750 Lexington Avenue, Floor 9, New York, New York 10022, is located

within this district.

        35.     Venue lies in this judicial district pursuant to 28 U.S.C. § 1391(b)(1) because

Defendant Udio resides in this district.




                                                -9-
       Case 1:24-cv-04777-AKH             Document 9         Filed 06/25/24       Page 10 of 41




                                    FACTUAL BACKGROUND

                                     Sound Recordings at Issue

        36.      Plaintiffs own or exercise exclusive control over copyrights and/or exclusive rights

under federal law in and to numerous valuable sound recordings. Exhibit A, attached hereto and

incorporated herein by reference, contains a non-exhaustive, representative list of copyrighted

sound recordings owned or exclusively controlled by Plaintiffs that Udio has directly infringed

(the “Copyrighted Recordings”).         Plaintiffs or their predecessors in interest have obtained

Certificates of Copyright Registration for each of the post-1972 Copyrighted Recordings identified

in Exhibit A.

        37.      Plaintiffs own or exercise exclusive control over copyrights and/or exclusive rights

in and to numerous valuable sound recordings first “fixed” before February 15, 1972, which are

protected under the Music Modernization Act (“MMA”), 17 U.S.C. § 1401 et seq. In enacting the

MMA, Congress directed the U.S. Copyright Office to create a process for rightsholders to submit

schedules of pre-1972 sound recordings so that the Copyright Office can publicly index the

recordings.     17 U.S.C. § 1401(f)(5)(A)(ii).      Once the Copyright Office indexes a work, a

rightsholder who sues for infringement of that work can recover statutory damages and attorneys’

fees just like any other copyright owner, pursuant to 17 U.S.C. §§ 504 and 505. For each of the

pre-1972 Copyrighted Recordings listed in Exhibit A, Plaintiffs have filed with the Copyright

Office schedules containing all information specified in 17 U.S.C. § 1401.

                                        Udio Launches in 2024

        38.      On April 10, 2024, a team of former researchers from Google DeepMind, an AI

research laboratory, launched Udio’s AI music generation service, and promoted it as a product

that “enables everyone from classically trained musicians, to those with pop star ambitions, to hip

hop fans, to people who just want to have fun with their friends to create awe-inspiring songs in

mere moments.” 2 Udio’s CEO and co-founder, David Ding (“Ding”), said the vision for Udio’s

2
 Udio, Former Google Deepmind Researchers Assemble Luminaries Across Music And Tech To Launch Udio, A New
AI-Powered App That Allows Anyone To Create Extraordinary Music In An Instant, PR Newswire (Apr. 10, 2024),


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          Case 1:24-cv-04777-AKH             Document 9         Filed 06/25/24          Page 11 of 41




service is to create “music that sounds indistinguishable from music that’s created by professional

human producers.” 3

          39.      Udio’s product allows users to enter text prompts or audio files to generate digital

music files. Users can prompt Udio’s service with a description of the music they want to generate,

which can include specifying the genre, lyrics, story direction, and themes to serve as inspiration.

Paid subscribers can also prompt Udio’s service by uploading a sound recording, which, according

to Udio, “greatly enrich[es] your prompting vocabulary.” 4               Within seconds, Udio’s service

processes the user’s prompt and generates two digital music files. Once the files have been

generated, users can further edit them through the “remix” feature.

          40.      Originally, Udio’s product was free to users, with a limit of 600 music files per

month. On May 8, 2024, Udio introduced subscription tiers, with options ranging from $10 a

month for 1,200 credits (which equates to 1,200 30-second clips per month), to $30 a month for

4,800 credits (equating to 4,800 30-second clips per month). Udio also allows users to create full-

length tracks that can be remixed without limit. Put simply, the more digital music files Udio’s

service produces for its users, the more Udio charges.

                           Udio Trains its AI Using Copyrighted Recordings

          41.      AI models are developed to flexibly perform tasks that are typically expected to

require human intelligence to achieve. “Generative AI” is a kind of AI aimed at producing content

such as text, images, or (in Udio’s case) audio. The generative AI models rapidly advancing today,

including Udio’s, are based on machine learning models. These models do not employ preset rules

for generating outputs, but rather deduce patterns from a large corpus of training content. They

store these patterns as billions of numerical parameters. In aggregate, these parameters constitute


https://www.prnewswire.com/news-releases/former-google-deepmind-researchers-assemble-luminaries-across-
music-and-tech-to-launch-udio-a-new-ai-powered-app-that-allows-anyone-to-create-extraordinary-music-in-an-
instant-302113166.html.
3
  Stuart Dredge, AI Music Startup Udio Launches Backed By Artists and Instagram’s Co-Founder, Music Ally (Apr.
10, 2024), https://musically.com/2024/04/10/ai-music-startup-udio-launches-backed-by-artists-and-instagrams-co-
founder/.
4
    @udiomusic, X (June 5, 2024), https://x.com/udiomusic/status/1798369297758077066.


                                                      -11-
          Case 1:24-cv-04777-AKH                Document 9          Filed 06/25/24        Page 12 of 41




the model. The training process adjusts the parameters so that the model produces content that is

based on the content on which the model is trained.

           42.      Upon information and belief, and consistent with the basic facts of how generative

AI works, the content Udio used to “train” its AI model includes reams of Copyrighted Recordings

that Udio reproduced without permission from Plaintiffs. Udio could not have built a model

capable of producing audio so similar to the Copyrighted Recordings without the initial act of

copying those recordings. As one of Udio’s chief investors has explained, “the only practical way

generative AI models can exist is if they can be trained on an almost unimaginably large amount

of content, much of which . . . will be subject to copyright.” 5

           43.      On information and belief, similar to other generative AI audio models, Udio trains

its AI model to produce audio output by generally taking the following steps:

                    a.       Udio first copies massive numbers of sound recordings, including by

                    “scraping” (i.e., copying or downloading) them from digital sources. This vast

                    collection of information forms the input, or “corpus,” upon which the Udio AI

                    model is trained.

                    b.       Udio then “cleans” the copied recordings to remove any material, whether

                    technical or substantive, that it does not wish to include in its AI model (for

                    instance, duplicate or low-quality data). This step may also involve copying the

                    recordings to convert them into a common digital audio format.

                    c.       Udio then processes this corpus of previously copied recordings to establish

                    the values of the parameters that form its AI model. This step includes additional

                    copying of the recordings, including into computer memory, as they are further

                    converted and divided into units, and as those units are processed.

                    d.       Udio next processes the data further to “finetune” its AI model, which may

                    require additional copying of the collected sound recordings.


5
    Comments of a16z in Response to Notice of Inquiry on Artificial Intelligence & Copyright 5 (Oct. 30, 2023).



                                                         -12-
       Case 1:24-cv-04777-AKH           Document 9        Filed 06/25/24    Page 13 of 41




       44.     After undergoing this training process, Udio’s service gains the capacity to generate

audio output based on Udio’s model, which, as just described, is a product of the corpus of sound

recordings on which it is trained. When a user prompts Udio’s service with a text input (e.g., make

a jazz song about New York), the service generates an audio output by making generalizations

about what the audio output should sound like based on the prompt and the corpus of sound

recordings on which it was trained. Certain features of the outputs from Udio’s model betray that

it was trained on particular data—in this case, the Copyrighted Recordings. In particular, Udio’s

product frequently generates outputs with strong resemblance to the Copyrighted Recordings, a

telltale sign that such recordings were included in its training data.

       45.     In technical terms, by generating outputs that mimic sound recordings in its training

corpus, Udio’s model reflects the machine-learning phenomenon known as “overfitting.” An AI

model is “overfitted” when it is too closely adapted to the data on which it was trained, making it

difficult for the model to generalize to new data sets. One symptom of overfitting is a model that

replicates portions of its training data. To take a simplified example, if a user inputs the prompt

“a jazz song about New York” into an overfitted AI model, the model may output a file that closely

resembles one of the jazz tracks on which it trained. As the myriad examples discussed below

reflect, Udio’s model obviously was trained on the Copyrighted Recordings. This infringement

cannot be cured by simply loosening the model’s fit or by implementing technical guardrails that

make it less likely that outputs will match excerpts of the Copyrighted Recordings. In other words,
modifying Udio’s offering in a way that better conceals its training data would not alter the fact

that Udio infringed the Copyrighted Recordings the moment it copied them to create its model.

       46.     The basic point is that Udio’s model requires a vast corpus of sound recordings in

order to output synthetic music files that are convincing imitations of human music. Udio’s corpus

includes the body of recorded music that people listen to in their everyday lives. Because of their

sheer popularity and exposure, the Copyrighted Recordings had to be included within Udio’s

training data for Udio’s model to be successful at creating the desired human-sounding outputs.

       47.     Udio’s founders have all but admitted that Udio trains on Plaintiffs’ sound


                                                 -13-
       Case 1:24-cv-04777-AKH               Document 9         Filed 06/25/24        Page 14 of 41




recordings. Ding, Udio’s CEO and co-founder, has explained that the only way Udio can “get

high-quality outputs” is if it “train[s] on a large amount of publicly-available and high-quality

music.” 6 Udio’s model is trained on the “best quality music that’s out there.” 7 As Ding has further

explained, Udio trained its model on “good music” that Udio “obtained from the internet.” 8

        48.      Ding has carefully chosen his words to make it sound like Udio is training only on

information that is not protected by copyright law. “Publicly-available” is not the same as “public

domain.” That Plaintiffs’ catalogs of Copyrighted Recordings are “publicly-available” does not

mean anyone can copy and commercially exploit them with abandon. In fact, copyright law

affords copyright owners the exclusive right to reproduce and distribute copies of their sound

recordings to the public without relinquishing copyright protection for those sound recordings.

Yet, Udio’s modus operandi is to treat the Copyrighted Recordings as if they were in the public

domain, free for the taking without permission or compensation.

        49.      Udio’s unlawful copying of the Copyrighted Recordings into its training data has

not been lost on even casual users of Udio’s product. Indeed, many observers have drawn this

obvious conclusion, expressing alarm over the scope of Udio’s unauthorized copying. To provide

just a sample:

        •        “Though neither company will directly confirm or deny it, there is substantial

                 reason to believe that . . . Udio . . . w[as] trained on copyrighted music, without

                 permission[.]” Brian Hiatt, AI-Music Arms Race: Meet Udio, the Other ChatGPT

                 for Music, Rolling Stone (Apr. 10, 2024).




6
  Stuart Dredge, AI Music Startup Udio Launches Backed By Artists and Instagram’s Co-Founder, Music Ally (Apr.
10, 2024), https://musically.com/2024/04/10/ai-music-startup-udio-launches-backed-by-artists-and-instagrams-co-
founder/.
7
 Sharon Goldman, AI Music May Be Having a Moment, But Human Songwriters Would Like a Word, Fortune (May
17, 2024), https://fortune.com/2024/05/17/ai-music-training-scraped/.
8
 Kristin Robinson, Metro Boomin’s ‘BBL Drizzy’ Is More Than a Joke – It Could Signal the Future of Sampling,
Billboard (May 15, 2024), https://www.billboard.com/business/tech/metro-boomin-bbl-drizzy-future-ai-sampling-
1235682587/.



                                                     -14-
Case 1:24-cv-04777-AKH        Document 9        Filed 06/25/24      Page 15 of 41




•     “Because [Udio] do[esn’t] reveal their training data, the only way to try to work out

      what they trained on is to use the product and see whether the output bears any

      resemblance to copyrighted music. I’ve been using Udio, and it turns out that . . .

      Udio generates output with a striking resemblance to copyrighted music.” Ed

      Newton-Rex, Yes… Udio’s Output Resembles Copyrighted Music, Too, Music

      Business Worldwide (Apr. 18, 2024).

•     “You’re just literally uploading other works from artists and people into it and then

      basically asking it to spit out slightly altered versions of that thing so that you

      yourself can then profit off of it without having to pay an artist[.]” Anthony

      Fantano, Disgusting AI Music App, YouTube (May 3, 2024).

•     “You’ve probably heard some Udio songs that have been generated that sound

      suspiciously very similar to a lot of the artists and bands that we all know and love.

      And, since there’s very little transparency here, many of us are left wondering is it

      possible that Udio has been training its model off of copyright protected music….

      What you’re going to see in this video is what I believe might be an indication that

      there is copyright protected sound recordings … within Udio’s dataset.” Sync My

      Music, Is Udio Reproducing Copyrighted Songs? (Audio Examples), YouTube

      (May 15, 2024).

•     “Often, music-making AI models train on copyrighted material without the consent
      or compensation of its rights holders, a practice that is largely condemned by the

      music business — even those who are excited about the future of AI tools.” Kristin

      Robinson, Metro Boomin’s ‘BBL Drizzy’ Is More Than a Joke – It Could Signal

      the Future of Sampling, Billboard (May 15, 2024).

•     “While details about the data that trained these AI tools are sparse, there is plenty

      of reason to believe that they are trained on copyrighted music.” Sharon Goldman,

      AI Music May be Having a Moment, But Human Songwriters Would Like a Word,

      Fortune (May 17, 2024).


                                       -15-
       Case 1:24-cv-04777-AKH           Document 9       Filed 06/25/24      Page 16 of 41




        50.     When directly accused of using Plaintiffs’ sound recordings, Udio dodged and did

not even try to dispute Plaintiffs’ allegations. Beyond this effective concession, Udio obfuscated

and claimed that its training data is “competitively sensitive” and constitutes “trade secrets”—a

risible contention considering that Udio has claimed the data on which it trains is “publicly-

available” and “out there” for all music listeners.

   Udio’s Outputs Confirm Copying and Ingestion of Plaintiffs’ Copyrighted Recordings

        51.     The fact that Udio’s product generates digital music files that mimic readily

identifiable features of the Copyrighted Recordings supports the conclusion that Udio is using the

Copyrighted Recordings in training its AI model. To be clear, Plaintiffs are not presently alleging

that these outputs themselves infringe the Copyrighted Recordings unless discovery reveals that

they directly or indirectly recapture portions of the Copyrighted Recordings. These outputs

confirm as an evidentiary matter that Udio has copied specific Copyrighted Recordings into its

training data to build its service.

        52.     Plaintiffs designed a test that sometimes reveals the Copyrighted Recordings that

Udio copied into its training data. Plaintiffs found that certain patterns of prompts can cause

Udio’s product to generate digital music files that contain melodic and vocal similarities to well-

known copyrighted sound recordings. As further explained below, those similarities betray that

the model was trained on the Copyrighted Recordings.

        53.     Specifically, Plaintiffs discovered that using targeted prompts that include the
characteristics of popular sound recordings—such as the decade the sound recording was released,

as well as the topic, genre, and descriptions of the artist—can cause Udio’s product to generate

music files that strongly resemble the Copyrighted Recordings related to the descriptions in the

prompt. In performing this test, Plaintiffs specified the lyrics for the output, so as to more easily

surface the underlying melodic or rhythmic similarities with specific Copyrighted Recordings.

This approach was designed to identify specific, copyrighted sound recordings that are likely in

Udio’s training data, since Udio has attempted to conceal the recordings on which it has trained.

The results confirm that Udio copied for training purposes the Copyrighted Recordings, because


                                                -16-
        Case 1:24-cv-04777-AKH                  Document 9           Filed 06/25/24          Page 17 of 41




this degree of similarity in output would be impossible if Udio were not training on the

Copyrighted Recordings.

         54.      As described below, the outputs from Udio’s product share indisputable similarities

with the Copyrighted Recordings, which results from training on the Copyrighted Recordings.

One need only listen to hear the resemblance. 9

         55.      For instance, using the prompt “my tempting 1964 girl smokey sing hitsville soul

pop” and excerpting lyrics from the band The Temptations, Udio’s service generated a digital

music file titled “Sunshine Melody,” which any listener familiar with The Temptations would
instantly recognize as resembling the copyrighted sound recording, “My Girl” (the copyright in

which is owned by UMG). A comparison of one section of the Udio-generated file and “My Girl”

reflects a number of similarities, including a very similar melody, the same chords, and very similar

backing vocals. These similarities are further reflected in the side-by-side transcriptions of the

musical scores for the Udio file and the original recording. 10 Plaintiffs were able to generate files

similar to “My Girl” two additional times, with the Udio outputs “Tempting Melody” and “My

Tempting Girl.” These similarities are only possible because Udio copied the Copyrighted

Recordings that contain these musical elements.




9
  Accompanying this Complaint and designated as Exhibit C is a thumb drive that contains all the Udio outputs
referenced herein and in Exhibit B. In the event Udio seeks to remove this evidence of its infringing conduct from
public view, the examples cited herein are preserved on this medium.
10
   Plaintiffs include the transcriptions of select Udio outputs and the Copyrighted Recordings they resemble to
illustrate the technical, musical similarities between the two. To facilitate comparison of Udio’s output and the original
Copyrighted Recording, each copyrighted song transcription has been transposed into the key of the relevant Udio
output. Red markings in the transcriptions indicate notes that are the same as the original in both pitch and rhythm,
where orange markings indicate notes that use either the pitch or the rhythm of the original, but not both.



                                                          -17-
Case 1:24-cv-04777-AKH   Document 9     Filed 06/25/24   Page 18 of 41




                   Score: Sunshine Melody (Udio)




                  Score: My Girl (The Temptations)




                                -18-
       Case 1:24-cv-04777-AKH          Document 9       Filed 06/25/24      Page 19 of 41




       56.     As another example, Udio’s product generated a digital music file with striking

resemblance to Green Day’s hit, “American Idiot” (the copyright in which is owned by Warner

Records Inc.). Using the prompt “pop punk american alternative rock California 2004 rob

Cavallo” and portions of Green Day lyrics, Udio generated “Subliminal Hysteria,” a file that shares

many similarities with the Green Day original. In particular, the melody accompanying the line

“don’t want a nation under the new media” is identical to the corresponding phrase in the original,

while the melody accompanying the line “the subliminal mindf*ck America” is virtually identical

to the corresponding phrase in the original.

                               Score: Subliminal Hysteria (Udio)




                                               -19-
      Case 1:24-cv-04777-AKH           Document 9       Filed 06/25/24     Page 20 of 41




                              Score: American Idiot (Green Day)




       57.     Udio’s output, “Sway With Me” draws on another popular hit, Michael Bublé’s

“Sway” (the copyright in which is owned by Warner Records Inc.). Generated using the prompt

“canadian smooth male singer 2004 jazz pop buble sway latin big band mambo,” this Udio file

features a melody that draws heavily from the Bublé original. In particular, the Udio output

replicates in several places almost verbatim the original’s distinctive melody on the words “start

to play, dance with me, make me sway.” Udio’s service also generated two additional outputs that

resemble “Sway,” both of which are included in Exhibit B.

                                 Score: Sway With Me (Udio)




                                              -20-
         Case 1:24-cv-04777-AKH           Document 9        Filed 06/25/24       Page 21 of 41




                                    Score: Sway (Michael Bublé)




         58.    Udio’s service has also generated 12 different outputs that contain portions of

Mariah Carey’s “All I Want for Christmas is You” (the copyright in which is owned by SME). To

illustrate, one of these recordings, also titled “All I Want For Christmas is You,” was generated on

Udio’s service with Mariah Carey lyrics and the prompt “m a r i a h c a r e y, contemporary r&b,

holiday, Grammy Award-winning American singer/songwriter, remarkable vocal range.” As the

audio and transcriptions reflect, the output contains chords and a melody that is virtually identical

to the original on every line except “I don’t care about the presents underneath the Christmas tree,”

which is still clearly in the original recording’s style. The 11 other outputs (included in Exhibit

B) also include clear stylistic elements of the original sound recording and Mariah Carey’s voice,

as well as melodic similarities.

         59.    Udio outputs similar to these Mariah Carey soundalikes have garnered public

attention and caused observers to draw the obvious conclusion that Udio trained its model on the

Copyrighted Recordings. 11 Udio responded to these examples by claiming that the creator “simply

exploited a bug in the system that we already fixed.” No matter the “fix” Udio supposedly

implemented, these examples, and many others, reveal Udio’s extensive copying of the

Copyrighted Recordings to train its model. This copying is a cornerstone of Udio’s service, not a

“bug.”




11
  See Sync My Music, Is Udio Reproducing Copyrighted Songs? (Audio Examples), YouTube (May 15, 2024) at
5:23–8:00, https://www.youtube.com/watch?v=FTiVr986yuk.



                                                  -21-
Case 1:24-cv-04777-AKH    Document 9     Filed 06/25/24      Page 22 of 41




             Score: All I Want For Christmas Is You (Udio)




         Score: All I Want For Christmas Is You (Mariah Carey)




                                 -22-
       Case 1:24-cv-04777-AKH           Document 9       Filed 06/25/24      Page 23 of 41




       60.     Udio’s service has also generated several outputs that resemble other major holiday

hits. The melody of Brenda Lee’s “Rocking Around the Christmas Tree” (the copyright in which

is owned by UMG) can be heard in Udio’s “Holly Jolly Christmas Wish”; Bobby Helms’s “Jingle

Bell Rock” (the copyright in which is owned by UMG) is directly referenced in Udio’s “Jingle

Bell Swing”; a portion of Wham!’s “Last Christmas,” (the copyright in which is owned by SME),

can be heard in Udio’s “Once Heartbroken”; and a portion of Andy Williams’ “It’s the Most

Wonderful Time of the Year” (the copyright in which is owned by SME) is included within Udio’s

“Season of Cheer.” 19 additional outputs that reference these sound recordings are included in
Exhibit B.

       61.     The Udio output “The Final Bow” evokes the Frank Sinatra classic, “My Way” (the

copyright in which is owned by UMG). Generated using the prompt “jazz frank Jacques sinatra

Revaux my way ballad 1969” and Frank Sinatra lyrics, the Udio track contains vocals that clearly

resemble Frank Sinatra. The Udio output also contains melodic similarities to the Sinatra original

throughout. The phrase “friend, I’ll say it clear” uses a virtually identical melody to the original;

the phrases “and now the end is near” and “I did it my way” are very similar to the original; the

melody associated with the phrase “final curtain” is taken from the original but shifted up a step;

and the phrase “much more than this” uses the melody of “I’ll say it clear” from the original.

       62.      Using the prompt “a 1983 song by an American singer and dancer, electronic, r&b,

pop-rock, post-disco, funk” and lyrics from Michael Jackson’s “Billie Jean,” Udio’s service

generated an output that closely resembles part of Michael Jackson’s “Billie Jean” (the copyright

in which is exclusively licensed by SME). Udio’s version, titled “Midnight Denial,” contains a

melody similar to the Michael Jackson original on the lyrics “Billie Jean is not my lover, she’s just

a girl who.” Though it starts on a different scale degree, the rhythm and pitch contour are very

similar to the original. Similarities to the Michael Jackson original are also found in Udio’s

“Eternal Whisper,” including a similar rhythm throughout the chorus and a similar vocal style.




                                                -23-
       Case 1:24-cv-04777-AKH           Document 9       Filed 06/25/24      Page 24 of 41




                                 Score: Midnight Denial (Udio)




                              Score: Billie Jean (Michael Jackson)




       63.     Similarly, “Excitations” includes The Beach Boys’ “Round round, get around, I get

around” in the same style as the original, copyrighted sound recording “I Get Around” (the

copyright in which is owned by Capitol Records). This output was generated using the prompt,

“song about vibrations, by an American rock band from Hawthorne, California, formed in 1961,

vocal harmonies, surf” and Beach Boys lyrics. Another Udio output, “Good Vibrations,” also
includes the characteristic vocal harmonies from the “Round, round, get around, I get around”

section of the original sound recording, as well as a high lead vocal in the same style as that used

in the original, and a melody on “I get around” that is virtually indistinguishable.




                                                -24-
      Case 1:24-cv-04777-AKH         Document 9       Filed 06/25/24     Page 25 of 41




                                  Score: Excitations (Udio)




                           Score: I Get Around (The Beach Boys)




       64.    Using the prompt “A famous 70s pop song about queens who dance, By a Swedish

band that rhymes with fabba, Europop, Disco, Keyboard, From an album that rhymes with

jarrival,” Udio created “Prancing Monarch,” a file that includes a strong resemblance to ABBA’s


                                             -25-
      Case 1:24-cv-04777-AKH           Document 9       Filed 06/25/24      Page 26 of 41




“Dancing Queen” (the copyright in which is owned by UMG). In particular, the phrase “we can

jive” is very similar to the corresponding phrase “you can jive” in the ABBA original, and includes

the same pitches, a very similar rhythm, and even virtually identical harmonizing vocals.

                               Score: Prancing Monarch (Udio)




                                Score: Dancing Queen (ABBA)




       65.     Udio’s service also generates audio outputs that contain vocals that are, in some

instances, indistinguishable from those of famous recording artists. For example, the Udio-

generated “Eve of New Lands” contains vocals that sound indistinguishable from Lin-Manuel

Miranda’s sound recordings for the Hamilton soundtrack (the copyrights in which are exclusively

controlled by Atlantic).    The output was generated using the prompt “my shot showtune

revolutionary war lin manuel Miranda.”

       66.     Even the biggest Bruce Springsteen fan would have trouble distinguishing between

the real “Boss” and the vocals in the Udio outputs “Reveries of the Boss” and “Throne of Stone.”

Udio’s service generated Reveries of the Boss using the prompt “Rock, Heartland rock, Melodic,

Sentimentalsong like bruce springsteen, male vocalist,” and generated Throne of Stone via the

prompt “Create a song by an artist that rhymes with Truce Stringbean.” The Udio output “Reveries

of the Boss” is currently available on major streaming platforms, such as Spotify and Amazon

Prime Music, where it competes with the genuine Bruce Springsteen recordings on which it is



                                               -26-
         Case 1:24-cv-04777-AKH         Document 9        Filed 06/25/24      Page 27 of 41




based.

         67.     In addition to the “Billie Jean” imitation, Udio’s service has produced output

containing digital clones of Michael Jackson’s vocals from different points in his career. Using

the prompt “male vocal motown song about my girl,” Udio’s service generated “Hello to My

Queen,” which appears to contain vocals from a young Michael Jackson. Another prompt, “1990s

pop, king of pop” caused Udio’s service to generate an output with vocals from an older Michael

Jackson, “Echo’s Dance.”

         68.     An additional sampling of Udio outputs that resemble specific recording artists is

listed below, along with the prompts used to generate them. The audio files that corresponded to

these outputs are also included in Exhibit C.

               Prompt                       Udio Output                 Artist Resemblance
 “A sad and depressing song         Ain’t No Sunshine Can             Billie Holiday
 in the style of Billie Holiday     Revive (feat. Billie Holiday)
 about a whitling rose, Jazz
 blues, Atmospheric, In the
 style of Billie Holiday,
 Binaural”
 “a surf rock song about a hot      Beach Boys                        The Beach Boys
 rod volkswagen beetle
 winning a race. surf rock,
 harmonies, close harmony,
 male vocalists”
 “chorus section, a song            Love Sting’z                      Sting
 about the loss of an angels
 and times that were good
 together, in the style of
 sting, smooth and melodic
 arrangement, featuring lush
 instrumentation that includes
 acoustic guitar, strings,
 subtle percussion”
 “create a song that sounds         Round the Firelight               Johnny Cash
 like an artist that rhymes
 with Cohnny Jash”




                                                -27-
          Case 1:24-cv-04777-AKH               Document 9         Filed 06/25/24        Page 28 of 41




 “the first four lines of a               Stellar Alignment                      Coldplay
 famous song by a band that
 rhymes with boldplay,
 continued in a new way”
 “70’s progressive rock,                  Leviathan’s Plea                       Jon Anderson
 English, song about saving
 the whale”
 “pop, rock, 60s, british,                Echos of Yesterday                     The Beatles
 guitar, [intro] cover of the
 guitar intro to a famous song
 by a band that rhymes with
 the smeetles”
 “male vocals, canadian,                  Dawning Triumph                        Michael Bublé
 christmas, D#m – G#m –
 A#m – C# chords, Michael,
 buble, feeling good, pop,
 jazz, Create a powerful,
 orchestral jazz anthem with
 soaring vocals, triumphant
 horns, and a driving swing
 rhythm, evoking optimism
 and liberation”
 “feliz spanish navidad                   “Navidad Alegre”                       José Feliciano
 holiday upbeat mexican pop
 puerto rican 1970”

           69.     Shortly after its launch, users discovered this tendency for Udio’s service to

generate digital music files containing recognizable vocals. Udio is aware of this. But rather than

train its model on legally obtained sound recordings, Udio used copies of the Copyrighted
Recordings without permission and attempted to conceal its illegal copying.

           70.     More specifically, users observed a pattern that they could generate outputs with

vocal replicas of specific artists by entering prompts consisting of the genres and descriptors of

copyrighted sound recordings found in the online music database and community

RateYourMusic.com. For example, on April 17, 2024, one user of Udio’s service posted a video

to X (formerly Twitter) demonstrating this technique. 12



12
     @ezralaeux, X (Apr. 17, 2024), https://twitter.com/ezralaeux/status/1780610861897330843.



                                                        -28-
          Case 1:24-cv-04777-AKH              Document 9          Filed 06/25/24         Page 29 of 41




           71.     In a screen-recorded video, the user copied the descriptors of the album, Bladee’s

“Icedancer” from RateYourMusic.com and used them to prompt Udio’s service. Udio’s service

then generated a music file with a vocal replica of the same artist whose album details served as

the prompt.




           72.     The post went viral, garnering 1,000,000 views and replies from others who were

likewise able to generate outputs with vocal replicas of other recording artists using the same

methodology, such as “Purple Tinted Euphoria” (Future). 13 None of this would have been possible

if Udio had not first copied the original artists’ recordings so that its AI model could learn how to

generate these vocal replicas.

           73.     Not even three hours after the original post, Udio removed several of the offending

music files—but not before they could be screen recorded and saved by the users. Udio also

temporarily shut down its “Manual Mode,” thereby preventing users from employing this

technique. 14
           74.     Additional outputs of Udio’s service that resemble the Copyrighted Recordings and


13
     @dcibabyyy, X (Apr. 17, 2024), https://x.com/dcibabyyy/status/1780645558568304908.
14
  By default, Udio processes user-inputted prompts to translate them into the form most understood by the underlying
model. “Manual Mode” disables this automatic processing and allows users to directly prompt the model without any
prompt rewriting or altering. In this way, Manual Mode provides users with more control over the output. See Udio,
How do I make music with Udio, https://www.udio.com/guide.



                                                       -29-
       Case 1:24-cv-04777-AKH           Document 9       Filed 06/25/24      Page 30 of 41




specific recording artists can be found in Exhibit B.

                                  Udio Cannot Claim Fair Use

       75.     When Plaintiffs raised these issues with Udio in written correspondence, Udio

attempted to justify its pervasive illegal copying of Plaintiffs’ sound recordings by claiming fair

use. This, itself, is a tacit admission of Udio’s illegal copying, as fair use only comes into play

when an unauthorized use of a copyrighted work needs to be justified.

       76.     The fair use doctrine has been coined an “equitable rule of reason” that balances

various contextual factors to determine whether an unauthorized use of a copyrighted work is

“fair.” Sony Corp. v. Universal City Studios, Inc., 464 U.S. 417, 448 (1984). But Udio cannot

launder its conscious stealing of the Copyrighted Recordings for commercial gain with an appeal

to equitable principles. Udio understands that what it is doing is wrong and inequitable, which

explains why it refused to even acknowledge the extent of its unauthorized use of Plaintiffs’ sound

recordings, and why it tries to cover its tracks when users publicize outputs that clearly reflect

training on their recordings.

       77.     Udio’s conduct violates the very purposes of the copyright law and runs contrary

to the purpose animating the fair use doctrine. The Copyright Act codifies the common-law

doctrine of fair use in 17 U.S.C. § 107, which identifies examples of the types of uses that may

qualify as fair, including “criticism, comment, news reporting, teaching . . . scholarship, or

research.” These paradigmatic fair uses reflect the policy of ensuring public availability of
“literature, music, and other arts” so that other humans can draw on those works to create new

ones. Udio’s wholesale copying of countless recordings serves none of these purposes. Udio’s

service does not offer “commentary” or “scholarship” or promote human authorship. Rather,

Udio’s service copies and ingests copyrighted works to create computer-generated imitations of

human expression that do not merit copyright protection. Udio’s motive is brazenly commercial

and threatens to displace the genuine human artistry that is at the heart of copyright protection.

       78.     Moreover, applying the statutory fair use factors set forth in § 107 demonstrates

that Udio’s conduct fails to qualify as fair use. These factors are: “(1) the purpose and character


                                                -30-
          Case 1:24-cv-04777-AKH           Document 9       Filed 06/25/24      Page 31 of 41




of the use, including whether such use is of a commercial nature or is for nonprofit educational

purposes; (2) the nature of the copyrighted work; (3) the amount and substantiality of the portion

used in relation to the copyrighted work as a whole; and (4) the effect of the use upon the potential

market for or value of the copyrighted work.” 17 U.S.C. § 107.

           79.      The first fair use factor focuses on “the problem of substitution—copyright’s bête

noire.” Andy Warhol Found. for the Visual Arts, Inc. v. Goldsmith, 598 U.S. 508, 528 (2023).

“The use of an original work to achieve a purpose that is the same as, or highly similar to, that of

the original work is more likely to substitute for . . . the work,” and thus is less likely to constitute

fair use. Id.

           80.      Ding has said Udio’s intention is to create “music that sounds indistinguishable

from music that’s created by professional human producers.” 15 In furtherance of this objective,

Udio copies Plaintiffs’ catalogs of sound recordings and generates digital music files that are

designed to entertain, evoke emotion, and stoke passion, just like the genuine sound recordings on

which Udio was trained. Udio feeds the Copyrighted Recordings into its AI model not merely to

deconstruct their expressive content, but with the explicit aim of imitating these expressive features

in digital music files that could serve as substitutes for and compete with the original recordings.

Ding has personally praised users whose Udio files are being marketed to the public on commercial




15
     Dredge, supra n.3.



                                                   -31-
       Case 1:24-cv-04777-AKH            Document 9         Filed 06/25/24      Page 32 of 41




streaming services like Spotify.




        81.     The use here is far from transformative, as there is no functional purpose for Udio’s

AI model to ingest the Copyrighted Recordings other than to spit out new, competing music files.

That Udio is copying the Copyrighted Recordings for a commercial purpose, and is deriving

revenue directly proportional to the number of music files it generates, further tilts the first fair use

factor against it. See id. at 532–33 (“If an original work and a secondary use share the same or

highly similar purposes, and the secondary use is of a commercial nature, the first factor is likely


                                                  -32-
       Case 1:24-cv-04777-AKH           Document 9       Filed 06/25/24       Page 33 of 41




to weigh against fair use, absent some other justification for copying.”).

       82.     The second fair use factor also favors Plaintiffs. This factor recognizes that “certain

‘works are closer to the core of intended copyright protection than others, with the consequence

that fair use is more difficult to establish when the former works are copied.’” TCA TV Corp. v.

McCollum, 839 F.3d 168, 184 (2d Cir. 2016) (quoting Campbell v. Acuff-Rose Music, Inc., 510

U.S. 569, 586 (1994)). There is no doubt that the Copyrighted Recordings are the type of “creative

expression for public dissemination [that] falls within the core of the copyright’s protective

purposes.” Hachette Book Grp., Inc. v. Internet Archive, 664 F. Supp. 3d 370, 387 (S.D.N.Y.

2023) (quoting Campbell, 510 U.S. at 586).

       83.     So too does the third fair use factor weigh against fair use. “A finding of fair use

is more likely when small amounts . . . are copied than when the copying is extensive, or

encompasses the most important parts of the original.” Authors Guild v. Google, Inc., 804 F.3d

202, 221 (2d Cir. 2015). It is abundantly clear that Udio copies (at least) the most important parts

of the protected sound recordings it sweeps into its training data, as demonstrated by its ability to

recreate, for instance, some of the most recognizable musical phrases, hooks, and choruses in

popular music history. Udio then uses these copies of key elements of protectable expression to

generate audio outputs that resemble the Copyrighted Recordings it ingests.

       84.     Turning to the fourth factor, Udio’s use of the Copyrighted Recordings poses a

significant threat to the market for and value of the Copyrighted Recordings. Licensing is at the
core of Plaintiffs’ businesses, and Plaintiffs license the Copyrighted Recordings for myriad

purposes, including for use in emerging technologies such as streaming services, user-generated

content platforms, and other innovative technologies. Udio’s unauthorized use of the Copyrighted

Recordings threatens to eliminate the existing market for licensing sound recordings, as well as

the future market for licensing sound recordings to generative AI companies. Rather than license

copyrighted sound recordings, potential licensees interested in licensing such recordings for their

own purposes could generate an AI-soundalike at virtually no cost. This is an especially aberrant

result when the replacement audio file is generated using an AI music service, like Udio’s, that


                                                -33-
          Case 1:24-cv-04777-AKH               Document 9          Filed 06/25/24     Page 34 of 41




produced the soundalike by infringing the copyrighted sound recording that would otherwise have

been licensed.

           85.      Moreover, Udio’s product has the potential to generate directly competing digital

music files at such speed that it risks overrunning the market for human-made sound recordings,

including the Copyrighted Recordings on which it was trained. This competition is ramping up at

a breathtaking pace. Udio’s service is already reportedly churning out 10 music files per second,

which equals 864,000 files per day, or just over 6,000,000 files per week. 16 Udio’s Terms of

Service expressly authorize the use of the output generated “for both personal and commercial

purposes.” 17 Users have taken this cue by publishing Udio-generated outputs on music streaming
services, where they will compete for plays against real, copyrighted sound recordings. One ready

example is the aforementioned Udio output “Reveries of the Boss,” which is available on major

streaming platforms where anyone can listen to the track’s convincing replica of Springsteen’s

vocals.

           86.      As Udio’s product gains a cultural foothold, Ding has started talking about new

ways Udio’s service can disrupt the music industry. For instance, Ding has stated that he believes

Udio “could simplify a lot of the rights management” issues inherent in sampling music—the

process of incorporating a section of a sound recording into a new recording. 18 The below screen

capture highlights one example of sampling that has captured the public imagination.




16
   Tim Ingham, The Train Has Left the Station: AI Music Platform Udio Is Already Spitting Out 10 Songs a Second,
Music Business Worldwide (May 13, 2024), https://www.musicbusinessworldwide.com/the-train-has-left-the-station-
ai-music-platform-udio-is-already-spitting/.
17
     Udio, Terms of Service § 6.3.1, https://www.udio.com/terms-of-service.
18
     See Robinson, supra n.8.



                                                         -34-
       Case 1:24-cv-04777-AKH           Document 9       Filed 06/25/24      Page 35 of 41




       87.     Typically, when an artist samples a copyrighted sound recording, he or she must

obtain permission from the copyright owner to incorporate the sample into a new work. Sampling

is an important component of the music industry and implicates critical rights that owners of sound

recordings have the exclusive right to license. When Udio says it can “simplify” the sampling

process, it means it can circumvent it altogether by illegally copying the Copyrighted Recordings

and flooding the market with “copycats” and “soundalikes,” thereby upending an established

sample licensing business. What Udio sees is another opportunity to steal from human creators

and copyright owners and obtain something of tremendous value for nothing.

       88.     Sampling is only the beginning. Enticed by the prospect of exponential growth,

Udio continues to circumvent the ordinary rules and steal vast amounts of copyrighted recordings

to train its AI model. Udio’s efforts are “directly aimed at replacing the work of human artists

with massive quantities of AI-created ‘sounds’ . . . that substantially dilute the royalty pools that


                                                -35-
       Case 1:24-cv-04777-AKH            Document 9         Filed 06/25/24      Page 36 of 41




are paid out to artists.” 19

        89.      The harm Udio is causing goes far beyond these immediate economic

consequences. Udio’s wholesale theft of the Copyrighted Recordings threatens the entire music

ecosystem and the numerous people it employs. It also degrades the rights of artists to control

their works, determine whether future uses of their works align with their aesthetic and personal

values, and decide the products or services with which they wish to be associated. And it

propagates the destructive theory that copyrighted music is free for the taking whenever a new

technology claims that seeking and obtaining permission is just too cumbersome. In other words,

Udio’s conduct is a frontal attack on the very purpose of copyright law to reward authors and

promote their incentives to continue creating copyrighted works.

        90.      There is room for AI and human creators to forge a sustainable, complementary

relationship that promotes human creativity and facilitates the human creations that shape culture,

excite the public, and resonate with consumers. This can and should be achieved through the well-

established mechanism of free-market licensing that ensures proper respect for copyright owners.

Like the other AI technologies that have struck licensing deals with copyright owners, copyright

law mandates that Udio do the same if it wishes to build a business using the Copyrighted

Recordings.

        91.      Since the day it launched, Udio has flouted the rights of copyright owners in the

music industry as part of a mad dash to become the dominant AI music generation service. Neither

Udio, nor any other generative AI company, can be allowed to advance toward this goal by

trampling the rights of copyright owners.




19
   Artist Rights Alliance, 200+ Artists Urge Tech Platforms: Stop Devaluing Music, Medium (Apr. 1, 2024),
https://artistrightsnow.medium.com/200-artists-urge-tech-platforms-stop-devaluing-music-559fb109bbac.



                                                  -36-
       Case 1:24-cv-04777-AKH           Document 9       Filed 06/25/24      Page 37 of 41




                                    CLAIMS FOR RELIEF

                                 FIRST CAUSE OF ACTION

          (Direct Copyright Infringement of Post-1972 Copyrighted Recordings)

        92.     Plaintiffs repeat, reallege, and incorporate the allegations in paragraphs 1–91 as if

fully set forth herein.

        93.     Plaintiffs UMG and Capitol own or exercise exclusive control over rights in the

Universal Works, which are an illustrative and non-exhaustive list of some of Universal’s works

infringed by Defendant through its development of Udio’s service. Universal has duly registered

each of the Universal Works.

        94.     Plaintiffs SME, Arista Music, and Arista Records own or exercise exclusive control

over rights in the Sony Works, which are an illustrative and non-exhaustive list of some of Sony’s

works infringed by Defendant through its development of Udio’s service. Sony has duly registered

each of the Sony Works.

        95.     Plaintiffs Atlantic, Rhino, WMI, WMISL, Warner Records Inc., Warner Records

LLC, and WR/SIRE own or exercise exclusive control over rights in the Warner Works, which are

an illustrative and non-exhaustive list of some of Warner’s works infringed by Defendant through

its development of Udio’s service. Warner has duly registered each of the Warner Works.

        96.     Udio has knowingly infringed Plaintiffs’ exclusive rights in copyrighted sound

recordings, including but not limited to the Universal Works, the Sony Works, and the Warner

Works, by reproducing them in violation of 17 U.S.C. § 106(1).

        97.     Udio does not have authorization, permission, license, or consent to reproduce or

otherwise use the Universal Works, the Sony Works, or the Warner Works.

        98.     Upon information and belief, Udio used the reproductions of the Universal Works,

the Sony Works, and the Warner Works to train its generative AI model.

        99.     Each of Udio’s acts of infringement of the Universal Works, the Sony Works, and

the Warner Works is a willful violation of 17 U.S.C. § 106.

        100.    As a direct and proximate result of Udio’s infringement of Plaintiffs’ exclusive


                                                -37-
       Case 1:24-cv-04777-AKH            Document 9       Filed 06/25/24      Page 38 of 41




rights, Udio has caused and will continue to cause irreparable injury to Plaintiffs for which

Plaintiffs have no adequate remedy at law. Plaintiffs are therefore entitled to injunctive relief and

to either actual damages and Udio’s profits or statutory damages pursuant to 17 U.S.C. § 504(c),

together with Plaintiffs’ costs and reasonable attorneys’ fees pursuant to 17 U.S.C. § 505.

                                  SECOND CAUSE OF ACTION

            (Direct Copyright Infringement of Pre-1972 Copyrighted Recordings)

        101.     Plaintiffs repeat, reallege, and incorporate the allegations in paragraphs 1–91 as if

fully set forth herein.

        102.     Plaintiffs UMG and Capitol own or exercise exclusive control over rights in the

Universal Works, which are an illustrative and non-exhaustive list of some of Universal’s works

infringed by Defendant through its development of Udio’s service. All of the pre-1972 Universal

Works have been submitted to and publicly indexed by the U.S. Copyright Office pursuant to 17

U.S.C. § 1401.

        103.     Plaintiffs SME, Arista Music, and Arista Records own or exercise exclusive control

over rights in the Sony Works, which are an illustrative and non-exhaustive list of some of Sony’s

works infringed by Defendant through its development of Udio’s service. All of the pre-1972

Sony Works have been submitted to and publicly indexed by the U.S. Copyright Office pursuant

to 17 U.S.C. § 1401.

        104.     Plaintiffs Atlantic, Rhino, WMI, WMISL, Warner Records Inc., Warner Records

LLC, and WR/SIRE own or exercise exclusive control over rights in the Warner Works, which are

an illustrative and non-exhaustive list of some of Warner’s works infringed by Defendant through

its development of Udio’s service. All of the pre-1972 Warner Works have been submitted to and

publicly indexed by the U.S. Copyright Office pursuant to 17 U.S.C. § 1401.

        105.     Udio has knowingly infringed Plaintiffs’ exclusive rights in copyrighted sound

recordings, including but not limited to the Universal Works, the Sony Works, and the Warner

Works, by reproducing them in violation of 17 U.S.C. §§ 106(1) and 1401(a)(1).

        106.     Udio does not have authorization, permission, license, or consent to reproduce or


                                                 -38-
       Case 1:24-cv-04777-AKH           Document 9       Filed 06/25/24       Page 39 of 41




otherwise use the Universal Works, the Sony Works, or the Warner Works.

       107.    Upon information and belief, Udio used the reproductions of the Universal Works,

the Sony Works, and the Warner Works to train its generative AI model.

       108.    Each of Udio’s acts of infringement of the Universal Works, the Sony Works, and

the Warner Works is a willful violation of 17 U.S.C. § 106.

       109.    As a direct and proximate result of Udio’s infringement of Plaintiffs’ exclusive

rights, Udio has caused and will continue to cause irreparable injury to Plaintiffs for which

Plaintiffs have no adequate remedy at law. Plaintiffs are therefore entitled to injunctive relief and

to either actual damages and Udio’s profits or statutory damages pursuant to 17 U.S.C. § 504(c),

together with Plaintiffs’ costs and reasonable attorneys’ fees pursuant to 17 U.S.C. § 505.

                                   PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs respectfully request a judgment in their favor and against Udio

as follows:
        A.     For a declaration that Udio has willfully infringed Plaintiffs’ protected sound

               recordings, including the Universal Works, the Sony Works, and the Warner

               Works.

       B.      For such equitable relief under Title 17, Title 28, and/or the Court’s inherent

               authority as is necessary to prevent or restrain infringement of Plaintiffs’ protected

               sound recordings, including a preliminary and permanent injunction requiring that

               Udio and its officers, agents, servants, employees, attorneys, directors, successors,

               assigns, licensees, and all others in active concert or participation with any of them,

               cease infringing, or causing, aiding, enabling, facilitating, encouraging, promoting,

               inducing, or materially contributing to or participating in the infringement of any

               of Plaintiffs’ exclusive rights under federal law, including without limitation in the

               sound recordings in Exhibit A;



                                                -39-
Case 1:24-cv-04777-AKH             Document 9        Filed 06/25/24      Page 40 of 41




C.        For statutory damages pursuant to 17 U.S.C. § 504(c), in an amount up to the

          maximum provided by law, arising from Udio’s willful violations of Plaintiffs’

          rights, including in an amount up to $150,000 per work infringed; or, in the

          alternative, at Plaintiffs’ election, Plaintiffs’ actual damages and/or Udio’s profits

          from infringement pursuant to 17 U.S.C. § 504(b), in an amount to be proven at

          trial;

D.        For an award of Plaintiffs’ costs and disbursements in this action, including

          reasonable attorneys’ fees, pursuant to 17 U.S.C. § 505;

E.        For an award of pre-judgment and post-judgment interest, to the fullest extent

          available, on any monetary award made part of the judgment against Udio; and

F.        For such other and further relief as the Court may deem just and proper.

                                    JURY DEMAND
     Plaintiffs demand a trial by jury on all claims for which trial by jury is proper.




                                           -40-
    Case 1:24-cv-04777-AKH   Document 9     Filed 06/25/24     Page 41 of 41



     Dated: June 24, 2024        HUESTON HENNIGAN LLP


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                                  -41-
